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 PROB 12C                                                                             Report Date: December 7, 2016
(6/16)

                                          United States District Court                                           FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                                        Dec 07, 2016
                                          Eastern District of Washington                                    SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Sarah Butler                               Case Number: 0980 2:12CR06011-003
                                     th
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: October 18, 2012
 Original Offense:        Attempt and Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 190 days; TSR - 60           Type of Supervision: Supervised Release
                          days

 Revocation               Prison - 8 months; TSR - 52
 Sentence: 07/09/13       months
 (Appealed)

 Revocation Re-           Prison - credit for time served;
 sentencing:              TSR - 48 months
 05/22/2014
 Asst. U.S. Attorney:     Alison L. Gregoire                  Date Supervision Commenced: May 21, 2014
 Defense Attorney:        Jeffrey S. Dahlberg                 Date Supervision Expires: July 8, 2017


                                           PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 11/10/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                        tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: Sarah Butler is considered in violation of her period of supervised
                        release in the Eastern District of Washington by using a controlled substance, marijuana, on
                        or about November14, 2016.
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                    Ms. Butler reported to the U.S. Probation Office on November 7, 2016, as she was directed
                    to report weekly due to providing prior positive UA tests. This sample tested positive for
                    THC and was sent to Alere Laboratories for confirmation and testing. Results were received
                    on November 10, 2016, confirming this sample was positive for the presence of THC.

                    Ms. Butler provided a UA sample on November 14, 2016, which tested positive for THC and
                    was sent to Alere Laboratories for confirmation and testing. Results were received on
                    November 17, 2016, confirming this sample was positive for the presence of THC.

                    On November 21, 2016, Ms. Butler reported and provided a UA that tested presumptively
                    positive for THC. The UA sample was sent to Alere Laboratories for confirmation and
                    testing. Results were received on November 25, 2016, confirming this sample was positive
                    for THC.

                    The undersigned officer contacted Alere Laboratories on December 1, 2016, and requested
                    an interpretation of the UA results, specifically for levels of THC use during the time period
                    of October 4, 2016, through November 28, 2016.

                    Alere Laboratories responded on December 5, 2016. The report was written and interpreted
                    by Alere’s Director of Toxicology. In his opinion, and based on the THC levels, Ms. Butler
                    reused marijuana before October 24, 2016; and November 14, 2016. The results from the UA
                    tests submitted on October 31, 2016; November 7, 2016; and November 21, 2016, were
                    inconclusive, and Alere was unable to determine if this was new use or residual elimination.




                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:      12/07/2016
                                                                           s/Daniel M. Manning
                                                                           Daniel M. Manning
                                                                           U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ X]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                       December 7, 2016

                                                                     Date
